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                               UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF MAINE


 In re:
                                                    Chapter 13
 Charles Pappas,                                    Case No. 18-20179

                              Debtor


 Donna Parris,

                              Plaintiff
   v.                                               Adv. Proc. No. 18-2005

 Charles Pappas,

                              Defendant


                                              JUDGMENT

          For the reasons articulated during the Court’s oral ruling on April 2, 2019 [Dkt. No. 33],

Ms. Parris’ Motion for Summary Judgment [Dkt. No. 15] is granted.

          It is therefore ORDERED that all components of Mr. Pappas’ debt to Ms. Parris arising

out of the Connecticut District Court Judgment in Parris v. Pappas, Case No. 3:10-cv-1128-

WWE are hereby adjudged nondischargeable in Mr. Pappas’ chapter 7 case, Case No. 18-20179,

pursuant to 11 U.S.C. § 1328(a)(4). Those components consist of $262,407 in compensatory and

punitive damages, the so-called “First Attorney Fee Award” of $87,392.50, and the so-called

“Second Attorney Fee Award” authorized by the Connecticut District Court’s order of August 6,

2012, in an amount to be determined in further proceedings in the Connecticut District Court.


Date: April 2, 2019
                                                Michael A. Fagone
                                                United States Bankruptcy Judge
                                                District of Maine
